                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF IOWA


 Iowa Voter Alliance, Todd Obadal, Michael                              Case 20-2078 _______
 C. Angelos, Diane L. Holst,

                       Plaintiffs,
 vs.
                                                          Complaint for Declaratory
 Black Hawk County and Scott County,                        and Injunctive Relief

                       Defendants.


       The Plaintiffs make the following allegations for their complaint.

                                         Introduction

       The Plaintiffs bring this lawsuit against Black Hawk County and Scott County

because federal law preempts private federal election grants to counties and cities. The

Center for Tech and Civic Life (CTCL) has essentially created a constitutionally-

impermissible public-private partnership with Iowa’s urban counties to run their federal

elections on November 3, 2020.

       CTCL has awarded a $267,500 private federal election grant to Black Hawk County.

CTCL has awarded a $286,870 private federal election grant to Scott County.

       The plaintiffs are injured by CTCL’s private federal election grants because they are

targeted to counties and cities by voter patterns. The plaintiffs want to protect the integrity

of the November 3 elections. The government favoring a demographic group in elections is

just as injurious to voters as the government disfavoring a demographic group. See Young v.

Red Clay Consol. Sch. Dist., 122 A.3d 784, 858 (Del Ch. 2015).




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         To be sure, CTCL is free to directly spend its $250,000,000 private federal election

grant fund to get out the vote in Iowa; but, federal election law leaves discretion to the

“states,” not the counties and cities, on how to implement federal elections:

         The specific choices on the methods of complying with the requirements of this
         subchapter shall be left to the discretion of the State.1

In fact, federal election law defines the word “state” to include only the 50 states and

territories.

         In this chapter, the term “State” includes the District of Columbia, the
         Commonwealth of Puerto Rico, Guam, American Samoa, and the
         United States Virgin Islands.2

So, under federal election law, Iowa’s counties are not a state. Not being a state, Iowa’s

counties are preempted from entering into a public-private partnership with CTCL for

federal election administration by receiving CTCL’s private federal election grant.

         The following federal law preempts the Iowa’s counties and cities from accepting and

using CTCL’s private federal election grants: U.S. Constitution’s Elections Clause and

Supremacy Clause, National Voters Registration Act (NVRA), 52 U.S.C. §§ 20501-20511,

Help America Vote Act, 52 USC §§ 20901-21145. The State of Iowa itself, in 2020,

apportioned millions of dollars of federal grants for federal elections proportionally to the

counties including to Black Hawk County and to Scott County. I.C.A. § 47.1; Iowa Admin.

Code 721-27.1, et seq. The CTCL grants did not follow the same equal process.

         Because of the preemptive effects of these federal laws, Black Hawk County and

Scott County have acted ultra vires, without legal authority, to form a public-private


1
    52 U.S.C § 21085, Pub. L. 107–252, title III, § 305 (Oct. 29, 2002), 116 Stat. 1714.
2   52 USC § 21141.

                                                 2
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partnership with CTCL for federal election administration by accepting and using CTCL’s

private federal election grant. The Plaintiffs are entitled to prospective declaratory and

injunctive relief enjoining Black Hawk County and Scott County from accepting and using

CTCL’s private federal election.

                                   Jurisdiction and Venue

         1.    Plaintiffs invoke this Court’s jurisdiction under 28 U.S.C. § 1331, authorizing

federal-question jurisdiction, for voters’ Supremacy Clause claims involving federal election

law preemption. The League of Women Voters v. Blackwell, 340 F.Supp.2d 823 (N.D. Ohio

2004).

         2.    Plaintiffs invoke this Court’s jurisdiction under the private cause of action

provided under HAVA, 52 U.S.C. § 21112, because the State of Iowa has failed to provide

the federally-required “appropriate remedy” of a timely, pre-election injunction for any

person complaining against a Iowa local government forming a public-private partnership

for federal election administration by accepting and using private federal election grants.

         3.    Venue is proper in this Court under 28 U.S.C. § 1391 because at least one of

the defendants, Black Hawk County, is located within Northern District of Iowa, with

offices within the Northern District of Iowa and because many of the events or omissions

regarding CTCL’s federal election grants to the defendants giving rise to the claims

presented occurred within the Northern District of Iowa.

                                            Parties

         4.    Iowa Voter Alliance is an unincorporated association. The Iowa Voter

Alliance is an association with members who seek to ensure, as part of their association



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objectives, public confidence in the integrity of Iowa’s elections, in election results and

election systems, processes, procedures, and enforcement, and that public officials act in

accordance with the law in exercising their obligations to the people of the State of Iowa.

The Iowa Voter Alliance also works to protect the rights of its members whenever laws,

statutes, rules, regulations, or government actions that threaten or impede implied or

expressed rights or privileges afforded to them under our constitutions or laws or both. Its

membership includes candidates seeking elective offices. The Iowa Voter Alliance has many

members.

       5.      Plaintiff Todd Obadal is an eligible Iowa voter residing in Black Hawk

County. Todd Obadal has an interest because Obadal opposes the election of progressive

candidates in local, state and federal elections

       6.      Plaintiff Michael C. Angelos is an eligible Iowa voter residing in Scott County.

       7.      Plaintiff Diane L. Holst is an eligible Iowa voter residing in Scott County.

       8.      All the plaintiffs have an interest in preventing any particular group of

candidates gaining an advantage through private funding of federal elections favoring certain

demographic groups.

       9.      Defendant Black Hawk County is an Iowa county. Black Hawk County is not

recognized as a “state” in federal law.

       10.     Defendant Scott County is an Iowa county. Scott County is not recognized as

a “state” in federal law.




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                                           Standing

       11.    The Supremacy Clause confers a private cause of action and legal standing on

voters in federal elections to sue state and local governments based on election policies and

customs that violate federal election law. The League of Women Voters v. Blackwell, 340

F.Supp.2d 823 (N.D. Ohio 2004).

       12.     HAVA, 52 U.S.C. § 21112, confers a private cause of action and legal

standing on plaintiffs because they fit in the statutory category of “any person who believes

that there is a violation of any provision of subchapter III (including a violation that has

occurred, is occurring, or is about to occur).”

       13.    As to plaintiffs’ prospective remedies sought in this Court, HAVA, 52 U.S.C.

§ 21112, titled “Establishment of State-based administrative complaint procedures to remedy

grievances” guarantees an “appropriate remedy” to “any person who believes that there is a

violation of any provision of subchapter III (including a violation that has occurred, is

occurring, or is about to occur)” of HAVA.

       14.    Under section (a) of 52 U.S.C. § 21112, Iowa, having received federal HAVA

payments, is “required to establish and maintain State-based administrative complaint

procedures that meet the requirements of paragraph (2).” Paragraph (2), among other things,

requires that Iowa provide that:

       (F) If, under the procedures, the State determines that there is a violation of any
       provision of subchapter III, the State shall provide the appropriate remedy.

(Emphasis added.)

       15.    However, in this case, Iowa Administrative Code ch. 721-25 has failed to

provide the federally required “appropriate remedy” to “any person who believes that there

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is… [a HAVA] violation that has occurred, is occurring, or is about to occur” because there

is effectively no pre-election injunctive relief allowed under Iowa Administrative Code ch.

721-25.

       16.     Iowa Administrative Code ch. 721-25 fails to provide the immediate injunctive

relief required to stop the defendants from accepting and using CTCL’s private federal

election grants before the November 3, 2020 election.

       17.     Iowa Administrative Code ch. 721-25 authorizes no one, not even the Iowa

Attorney General, to pursue injunctive relief for HAVA violations against Iowa’s local

governments.

       18.     Iowa Administrative Code ch. 721-25 is legally insufficient to satisfy the

federal “appropriate remedy” requirement for “any person” filing a HAVA complaint in

Iowa to obtain pre-election injunctive relief.

       19.     Because Iowa Administrative Code ch. 721-25 does not provide the federally-

required “appropriate remedy” under 52 U.S. Code § 21112, plaintiffs have a private cause of

action and legal standing under 52 U.S.C. § 21112 to pursue pre-election prospective

declaratory and injunctive relief in federal court.

       20.     An actual controversy exists between the parties, Iowa Voter Alliance and the

individual plaintiffs who have suffered an injury-in-fact that is directly traceable to the

defendants. 28 U.S.C. § 2201.

       21.     The plaintiffs are injured by CTCL’s private federal elections grants to Black

Hawk County and Scott County in violation of federal law, which ensure legally-authorized,

uniform and fair federal elections.



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       22.     CTCL’s private federal election grants to the Iowa counties tortiously interfere

with plaintiffs’ legal rights in their respective counties under federal law to legally-authorized,

uniform and fair federal elections. See The League of Women Voters v. Blackwell, 340 F.Supp.2d

823 (N.D. Ohio 2004).

       23.     A government’s election policy favoring demographic groups is an equivalent

injury to disfavoring demographic groups. “Parity of reasoning suggests that a government

can violate the Elections Clause if it skews the outcome of an election by encouraging and

facilitating voting by favored demographic groups.” Young v. Red Clay Consol. Sch. Dist., 122

A.3d 784, 858 (Del Ch. 2015).

       24.     The plaintiffs want a fair and equal election on November 3rd; the plaintiffs

are injured by CTCL’s private federal election grants because they are targeted to counties

and cities by voter patterns—potentially creating an advantage through private funding of

federal elections favoring certain demographic groups. See, id.

       25.     The injury to the plaintiffs is real and concrete.

       26.     This Court’s favorable decision will redress the plaintiffs’ injuries and allow

them to enjoy their rights to legally-authorized, uniform and fair federal elections guaranteed

under federal law.


                                      Statement of Facts

       27.     Black Hawk County and Scott County are local governments in Iowa.

       28.     Black Hawk County and Scott County are not states under federal law.

       29.     The CTCL is a non-profit organization providing federal election grants to

local governments.


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       30.     The CTCL was founded in 2012 by Tiana Epps-Johnson, Donny Bridges, and

Whitney May.

       31.     The CTCL headquarters is in Chicago, Illinois.

       32.     The CTCL states that they are “a team of civic technologists, trainers,

researchers, election administration and data experts working to foster a more informed and

engaged democracy, and helping to modernize elections.”

       33.     CTCL’s mission on its website includes training public election officials in

communication and technology and to inform and mobilize voters.

       34.     CTCL’s founders – Epps-Johnson, Bridges, and May – all previously worked

at the New Organizing Institute (NOI), a center dedicated to training progressive groups and

Democratic campaigns in digital campaigning strategies.

       35.     NOI’s executive director, Ethan Roeder, led the data departments for the

Obama presidential campaigns of 2008 and 2012.

       36.     Funders of CTCL include progressive groups such as the Skoll Foundation,

the Democracy Fund, the John S. and James L. Knight Foundation, and the Rockefeller

Brothers Foundation.

       37.     CTCL is also associated with Rock the Vote, who despite their non-partisan

claims, has regularly featured progressive policies in its efforts to mobilize young people in

elections.

       38.     Along with Rock the Vote and The Skoll Foundation, CTCL also lists

Facebook as a partner in their efforts.




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       39.     On September 1, Mark Zuckerberg and Priscilla Chan announced their $300

million investment to promote “safe and reliable voting in states and localities.” See Exhibit

B.

       40.     Of that $300 million, $250 million is going toward CTCL and private federal

election grants to counties and cities.

       41.     CTCL, as a progressive organization, targets urban counties and cities for its

private federal election grants to turn out the progressive vote so progressive candidates win.

CTCL’s 2020 private federal elections grant application process.

       42.     CTCL markets to local election offices the federal election grants as “COVID-

19 Response Grants”:

               We provide funding to U.S. local election offices to help ensure they have the
               critical resources they need to safely serve every voter in 2020. See Exhibit A.

       43.     CTCL states that it intends to award $250,000,000 of private federal election

grants to local election offices for the November 3, 2020 elections and provides an

application link to apply for the CTCL’s private federal election grants.

               The Center for Tech and Civic Life (CTCL) is excited to expand our COVID-
               19 Response Grant program to all U.S. local election jurisdictions. Backed by
               a generous $250M contribution, CTCL will provide grants to local election
               jurisdictions across the country to help ensure you have the staffing, training,
               and equipment necessary so this November every eligible voter can participate
               in a safe and timely way and have their vote counted.

               APPLY FOR A COVID-19 GRANT

               The deadline to apply is October 1, 2020. Questions about the COVID-19
               grant application or process? Email us at help@techandciviclife.org.

See https://www.techandciviclife.org/our-work/election-officials/grants/.




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       44.        CTCL, on its website, states that it will take about 45 minutes for the local

election officials to gather information and fill out the application for CTCL’s private federal

election grants:

                 CTCL COVID-19 Response Grant Application
                  We estimate it will take approximately 30 minutes to gather and prepare the
                  materials needed to complete the COVID-19 Response Grant Application.
                  We then expect that it will take approximately 15 minutes to complete the
                  grant application questions below.
                  For an overview of what to expect when completing the grant application,
                  including the materials you'll need to submit,
                  visit https://www.techandciviclife.org/grants/
                  After submission of this information, CTCL may ask for additional
                  information to help determine if your jurisdiction qualifies for a grant. CTCL
                  reserves the right to verify with third party sources any information that you
                  provide. By submitting this application, you consent to the collection of the
                  information you submit, which may be used for the purposes described in
                  CTCL’s Privacy Policy.
                 Who is completing this grant application? *
                            First Name                       Last Name
                 What is your title? *

                 Please select the state and office (or official) you are applying on behalf of. *
                 NOTE: We are unfortunately not able to grant to election administrators in American
                  Samoa or Guam under local law.
                 What type of jurisdiction are you submitting an application on behalf of? *
                     County City Village Town Township State or Territory


                 I certify that I am permitted to submit this grant request on behalf of the
                  jurisdiction listed above. *
                      Yes
                 If you are unsure who is permitted to make grant requests on behalf of your jurisdiction, we
                  encourage you to consult your county or city attorney.
                 Your initials *
                                        Initials of Requester
                 Today's Date
                                   Date



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https://form.jotform.com/202445110530135

       45.       CTCL, on its website, answers the question “Why is CTCL providing grants

to election offices?”:

       Election officials have made it clear that one of their most pressing needs is funding.
       Based on this, CTCL is focusing philanthropic support to directly help election
       offices administer safe and secure elections in November.

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       46.       CTCL, on its website, answers the question “Who is providing the grant?”:

       CTCL is a publicly supported 501(c)(3) nonprofit organization. CTCL is proud to
       have a healthy mix of financial support from foundations, individual donors, and
       through earned revenue. By law, CTCL’s financial 990s are available for public
       review. Grant funds will be disbursed from the Center for Tech and Civic Life.


See https://www.techandciviclife.org/our-work/election-officials/grants/.

       47.       CTCL, on its website, answers the question “What kind of election expenses

do the grant funds cover?”:

       Election offices can use the funds to cover certain 2020 expenses incurred between
       June 15, 2020 and December 31, 2020. These include, but are not limited to, the costs
       associated with the safe administration of the following examples of election
       responsibilities.

             Ensure Safe, Efficient Election Day Administration

                Maintain open in-person polling places on Election Day
                Procure Personal Protective Equipment (PPE) and personal disinfectant to
                 protect election officials and voters from COVID-19
                Support and expand drive-thru voting, including purchase of additional
                 signage, tents, traffic control, walkie-talkies, and safety measures

             Expand Voter Education & Outreach Efforts
              Publish reminders for voters to verify and update their address, or other voter
               registration information, prior to the election
              Educate voters on safe voting policies and procedures




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             Launch Poll Worker Recruitment, Training & Safety Efforts

                Recruit and hire a sufficient number of poll workers and inspectors to ensure
                 polling places are properly staffed, utilizing hazard pay where required
                Provide voting facilities with funds to compensate for increased site cleaning
                 and sanitization costs
                Deliver updated training for current and new poll workers administering
                 elections in the midst of pandemic

             Support Early In-Person Voting and Vote by Mail

                Expand or maintain the number of in-person early voting sites
                Deploy additional staff and/or technology improvements to expedite and
                 improve mail ballot processing

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       48.       CTCL, on its website, answers the question “How do I know that my office is

eligible to receive a grant?”:

                 If your U.S. election office is responsible for administering election activities
                 covered by the grant, you’re eligible to apply for grant funds.

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       49.       CTCL, on its website, answers the question “How much money is my office

eligible to apply for?”:

                 Your election office will be eligible to apply for a grant amount based on a
                 formula that considers the citizen voting age population and other
                 demographic data of your jurisdiction. Minimum grants will be $5,000. You
                 may choose to receive less than the offered amount if your needs or eligible
                 expenses do not reach that amount.

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       50.       CTCL, on its website, answers the question “What if I share election

responsibilities with another local government office?”:




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             If you share election responsibilities with another local government office, you are
             encouraged to submit one combined application for grant funds. This means
             you’ll coordinate with your other local government offices.

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       51.       CTCL, on its website, answers the question “What information does my office

need to provide in the grant application?”:

             You will need to provide the following information in your grant application:
                Number of active registered voters in the election office jurisdiction as of
                   September 1, 2020
                Number of full-time staff (or equivalent) on the election team as of
                   September 1, 2020
                Election office 2020 budget as of September 1, 2020
                Election office W-9
                Local government body who needs to approve the grant funding (if any)
                What government official or government agency the grant agreement
                   should be addressed to

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       52.       CTCL, on its website, answers the question “Who should submit the

application for my election office?”:

                 Your election office’s point of contact for the grant should submit the grant
                 application. We leave it to you to determine who should be the point of
                 contact.

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       53.       CTCL, on its website, answers the question “When can I submit my

application?”:

                 You’ll be able to submit your grant application beginning the week of
                 Tuesday, September 8, 2020.

See https://www.techandciviclife.org/our-work/election-officials/grants/.




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       54.    CTCL, on its website, answers the question “When will my office receive the

grant?”:

              We recognize that election jurisdictions need funding as soon as possible to
              cover the unprecedented expenses of 2020 elections. We plan to move
              quickly! After you submit your application, CTCL anticipates that the
              certification and approval of your grant will take about 2 weeks. The
              disbursement timeline will depend on your local approval process.

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       55.    CTCL, on its website, answers the question “Will the grant be mailed via

check or transferred via wire?”:

              Wiring the grant funds is faster, but you can receive the funds via a mailed
              check if preferred.

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       56.    CTCL, on its website, answers the question “What reporting is required?”:

              You will be required to submit a report that indicates how you spent the grant
              funds. The report will be in a format that should not be overly burdensome.

See https://www.techandciviclife.org/our-work/election-officials/grants/.

       57.    CTCL, on its website, answers the question “When do I report how my office

spent the funds?”:

              You’ll need to submit your grant report by January 31, 2021.

See https://www.techandciviclife.org/our-work/election-officials/grants/.

CTCL’s private federal election grants are targeted toward counties and cities with
demographics that show overwhelmingly progressive voters.

       58.    The local governments that CTCL have funded have demographics with

overwhelmingly progressive voters. For example, Wayne County, Michigan, voted in 2016

for Hillary Clinton at a 94.95% rate over Donald Trump.


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       59.    As the chart below shows, CTCL’s private federal election grants are targeting

counties and cities with demographics showing high rates of progressive voters.

Jurisdiction/City   Grant         Trump Clinton Clinton                 Obama Undervote
                    Amount           2016      2016 Percentage           2012
                    (in dollars)
Green Bay City, WI 1,093,400       19,821   21,291      51.78%            26,361      5,070
Kenosha City, WI    862,779        15,829   22,849      58.98%            28,817      5,968
Madison City, WI    1,271,788      23,053 120,078       83.89%           147,171     27,093
Milwaukee City, WI 2,154,500       45,167 188,653       80.68%           276,312     87,659
Racine City, WI     942,100         8,934   19,029      68.05%            25,255      6,226
Detroit, MI         3,512,000       7,682 234,871       96.83%
Wayne County, MI- 3,512,000         7,682 234,871       94.95%
Detroit
Flint City, MI      475,625         4,572   24,790      84.42%
East Lansing, MI    8,500           4,147   13,073       75.9%
Lansing, MI         440,000        11,219   32,716      74.46%
Ann Arbor, MI       417,000         7,763   51,056      87.50%
Muskegon, MI        433,580         4,810   14,916      75.62%
Saginaw, MI         402,878          3704    13536      78.52%
Pontiac, MI         405,564         2,987   16,507      94.68%
Minneapolis City, 3,000,000        25,693 174.585       87.17%           172,480      -2,105
MN
Fulton County, GA 6,000,000       117,783 297,051       71.61%
- Atlanta
Richland County, 730,000           52,469 108,000        67.2%           103,989      -4,011
SC
Charleston County, 695,000         75,443   89,299      54.21%            81,487      -7,812
SC
Clarendon County, 102,373           7,386     7,732     51.14%             9,091       1,359
SC
Delaware County, 2,200,000        110,667 177,402       61.58%           171,792      -5,610
PA
Centre County, PA 863,828          35,274   37,088      51.25%            34,176      -2,912
Wayne County, PA 25,000            16,244     7,008     30.14%             8,396       1,388
Philadelphia City, 10,000,000     108,748 584,025       84.30%           588,806       4,781
PA
Black          Hawk 267,500      27,476   32,233        53.98%            39,821       7,588
County, IA
Woodbury County, 155,000         39,149   40,440        50.81%            50,652     10,212
IA


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Scott County, IA        286,870     24,727        16,210       39.59%     22,302          7,092
Atlantic County, NJ     150,000     52,690        60,924       53.62%     65,600          4,676
Union, Maine            5,000       665           582          46.67%        712            130
Hopkins County,         19,952      6,972         1,560        18.28%      2,777          1,217
TX
Bowie County, TX        62,095      24,924        8,838        26.18%     10,196          1,358
Hays County, TX         289,000     33,826        33,224       49.55%     25,537         -7,687
Tompkins County,        69,000      9,370         26,093       73.58%     24,872         -1,221
NY
Warren     County,      31,000      14,317        12,461       46.53%     14,276          1,815
NY
Onondaga County,        286,960     73,700        107,049      59.23% 117,470            10,421
NY


       60.    Black Hawk County in 2016 voted for Hillary Clinton at a 53.89% rate over

Donald Trump.

       61.    In Scott County in 2016, although Trump received more votes than Clinton,

Clinton had an undervote of 7,092 votes compared to President Obama in 2012.

CTCL’s 2020 private federal election grants

       62.    In 2020, CTCL has provided private federal election grants to cities and

counties in at least Iowa, Texas, Pennsylvania, Michigan, Wisconsin, Minnesota, South

Carolina and Georgia.

       63.    None of these private federal election grants have been approved by Congress

or the Elections Assistance Commission.

       64.    All these states have something in common: state legislatures who will not

accept CTCL’s private federal elections grants.




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       65.    So, CTCL, to accomplish its objective of turning out progressive votes in the

urban counties and cities, has circumvented these state legislatures by recruiting local

governments to apply and agree to accept CTCL’s private federal election grants.

       66.    CTCL’s private federal election grants to counties and cities in Iowa, Texas

Pennsylvania, Michigan, Wisconsin, Minnesota, South Carolina and Georgia were not

approved by Congress nor by the respective state legislatures.

       67.    CTCL’s private federal election grant to Black Hawk County and Scott County

were not approved by Congress nor by the Iowa state legislature.

Under Iowa law, the Secretary of State, not CTCL, apportions federal and state
election grants to the counties and cities.

       68.    Under Iowa law, the Secretary of State, not CTCL, apportions federal and

state election grants to the counties. I.C.A. § 47.1; Iowa Admin. Code 721-27.1, et seq.

       69.    On March 27, 2020, the federal Coronavirus Aid, Relief, and Economic

Security Act (CARES Act) was signed into law.

       70.    The Act included $400 million in new Help America Vote Act (HAVA)

emergency funds, made available to states to prevent, prepare for, and respond to the

coronavirus for the 2020 federal election cycle.

       71.    This supplemental appropriation funding, distributed by the U.S. Elections

Assistance Commission (EAC), provides states with additional resources to protect the 2020

elections from the effects of the novel coronavirus and otherwise promote fair elections.

       72.    Additionally, on December 20, 2019, the federal Consolidated Appropriations

Act of 2020 was signed into law. The Act included $425 million in new Help America Vote




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Act (HAVA) funds, made available to states to improve the administration of elections for

Federal Office, including to enhance technology and make election security improvements.

       73.    The 2020 HAVA Election Security Fund, authorized under Title I Section 101

of the Help America Vote Act (HAVA) of 2002, was the second new appropriations for

HAVA grants since FY2010.

       74.    This funding was to provide states with additional resources to secure and

improve election administration.

       75.    Iowa, for 2020 election purposes, received $4,859,545 under the CARES Act

and $5,178,002 under HAVA. The total federal funding for Iowa’s elections was

$10,037,547

       76.    The State of Iowa directed that portions of both the grants would be

expended directly by the Secretary of State for statewide efforts such as election security and

technology enhancements for the counties and state, post-election audit implementation,

training and support for election officials, notifying and educating voters of the change in

primary date and the opportunity for all voters to vote by mail, providing precinct protection

kits containing masks, sanitizers, and other supplies to all counties, implementing a statewide

online accessible vote by mail option so that voters with disabilities can vote by mail, and

other efforts consistent with the Acts.

       77.    The state government by its Secretary of State also apportioned the

disbursements of the federal grants, supplemented with state funds, to Iowa’s counties.

I.C.A. § 47.1; Iowa Admin. Code 721-27.1, et seq.




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CTCL’s private federal election grants are to increase voter participation within
Iowa’s progressive demographic groups which can be accomplished without creation
of a public-private partnership regarding Iowa’s administration of federal elections.

       78.    CTCL’s private federal election grants are to increase voter participation of

Iowa’s progressive demographic groups.

       79.    CTCL’s goal of increasing progressive voter participation can be accomplished

without the funding through Iowa’s counties and cities.

       80.    Instead, CTCL could spend the funds directly on get-out-to-vote (GOTV)

efforts like other non-profits do.

       81.    Therefore, for CTCL to accomplish its goal of increasing progressive voter

participation in Iowa, it is unnecessary for there to be a public-private partnership between

CTCL and the Iowa’s local governments regarding federal election administration.

                                          COUNT I

Black Hawk County and Scott County act ultra vires, without legal authority, to form
    public-private partnerships for federal election administration with CTCL by
  accepting and using CTCL’s private federal election grants, because preemption
    applies under the Elections Clause, Supremacy Clause, HAVA, and NVRA.

       82.    Black Hawk County and Scott County act ultra vires, without legal authority,

to form a public-private partnership for federal election administration with CTCL by

accepting and using CTCL’s private federal election grant, because preemption applies under

the Elections Clause, Supremacy Clause, HAVA, and NVRA.

       83.    The Center for Tech and Civic Life (CTCL) has distributed or is about to

distribute a private federal election grants, totaling over $500,000 to the Defendants.

       84.    But, HAVA left discretion to the “states,” not the counties and cities, on how

to implement federal elections:


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                 The specific choices on the methods of complying with the requirements of
                 this subchapter shall be left to the discretion of the State.3

         85.     Federal election law defines the word “state”:

                 In this chapter, the term “State” includes the District of Columbia, the
                 Commonwealth of Puerto Rico, Guam, American Samoa, and the
                 United States Virgin Islands.4

         86.     So, under federal election law, Black Hawk County and Scott County are not a

“states.”

         87.     Accordingly, Black Hawk County and Scott County have no legal authority to

form public-private partnerships for federal election administration nor to accept and use

private federal election grants.

         88.     The following federal law and state law preempt the Iowa counties and cities

from accepting and using private federal election grants: U.S. Constitution’s Elections Clause

and Supremacy Clause, National Voters Registration Act (NVRA), 52 U.S.C. §§ 20501-

20511, Help America Vote Act, 52 USC §§ 20901-21145.

         89.     Because of the preemptive effects of these laws, Iowa counties and cities act

ultra vires, without legal authority, to accept and use CTCL’s private federal election grants.

         90.     The Plaintiffs are entitled to prospective declaratory and injunctive relief.

         91.     Specifically, the following laws preempt the Black Hawk County’s and Scott

County’s actions of approving and using CTCL’s private federal election grants.




3
    52 U.S. Code § 21085, Pub. L. 107–252, title III, § 305 (Oct. 29, 2002), 116 Stat. 1714.
4   52 USC § 21141.

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U.S. Constitution’s Elections Clause and Supremacy Clause

       92.       The U.S. Constitution, Article I’s Elections Clause and Article VI’s Supremacy

Clause preempts CTCL’s private federal elections grants to local governments.

       93.       The Elections Clause states:

                 Time, place, and manner of holding. The Times, Places and Manner of
                 holding Elections for Senators and Representatives, shall be prescribed in each
                 State by the Legislature thereof; but the Congress may at any time by Law
                 make or alter such Regulations, except as to the Places of chusing [sic]
                 Senators.

U.S. Constitution, Art. I, section 4, clause 1.

       94.       The Supremacy Clause states:

                 This Constitution, and the Laws of the United States which shall be made in
                 Pursuance thereof; and all Treaties made, or which shall be made, under the
                 Authority of the United States, shall be the supreme Law of the Land; and the
                 Judges in every State shall be bound thereby, any Thing in the Constitution or
                 Laws of any State to the Contrary notwithstanding.

U.S. Constitution, Art. VI, para. 2.

       95.       The Elections Clause, as applied here, ensures that the federal government

and state legislatures determine the time, place and manner of federal elections—not CTCL

and local governments.

       96.       The Supremacy Clause, as applied here, ensures that local governments do not

act contrary to federal and state law regarding federal elections.

       97.       The Elections Clause and Supremacy Clause preempt CTCL’s private federal

election grants to local governments.

       98.       CTCL’s private federal election grants are not legally authorized by federal law

nor state law.



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       99.    Black Hawk County and Scott County have acted ultra vires, without legal

authority, in accepting and using CTCL’s private federal election grants and forming the

public-private partnership with CTCL for federal election administration.

CTCL’s $500,000+ of private federal election grants to Defendants is a
constitutionally-impermissible public-private partnership.

       100.   CTCL’s $500,000+ of private federal elections grants to Defendants is a

constitutionally-impermissible public-private partnership.

       101.   The case law shows that CTCL’s private federal election grant is in a subject

area, federal election administration, where public-private partnerships are constitutionally

impermissible.

       102.   The federal courts have a tradition in different subject areas of drawing a line

where public-private partnerships are constitutionally impermissible. Federal elections are a

subject where the federals should hold that private-public partnerships are constitutionally

impermissible.

       103.   Young v. Red Clay Consol. Sch. Dist., 122 A.3d 784, 858 (Del. Ch. 2015) reveals

the dangers of a government scheme to target get-out-to-vote efforts on a favored

demographic group. The school district wanted its referendum to pass; so, it targeted parents

of school children and adult students for a get-out-to-vote campaign. In the Young decision,

the court identified the school district’s scheme to get-out-the-vote of the parents and adult

students as also violating election law. The court held that the school district’s improper

influence upon a demographic group interfered with the “full, fair, and free expression of

the popular will….” Id. The court stated that the government favoring a demographic group

was equivalent to the government disfavoring a demographic group:


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               Historically, the law has focused on forms of “improper influence” that have
               interfered with the voting rights of disfavored demographic groups by
               dissuading or preventing them from voting through blatant means like fraud,
               violence, and intimidation. A government certainly violates the Elections
               Clause if it skews the outcome of an election in this manner. Parity of
               reasoning suggests that a government can violate the Elections Clause if it
               skews the outcome of an election by encouraging and facilitating voting by
               favored demographic groups. In both situations, the government has
               diminished the voting rights of one portion of the electorate and enhanced the
               voting rights of another portion of the electorate. In neither case is the
               election “free and equal.”

Id.

        104.   In Board of Education of Kiryas Joel Village School District v. Grumet, 512 U.S. 687

(1994), the U.S. Supreme Court drew such a line finding a public-private partnership

constitutionally impermissible. In Kiryas, the New York legislature sought to create a

homogenous school district for Satmar Hasidic Jews and did so by statute. This “religious”

motive was improper for the state and the statute forming the new district was stuck down.

Id. at 691.

        105.   Similarly, in Ferguson v. City of Charleston, 532 U.S. 67, 81-86 (U.S. 2001), the

U.S. Supreme Court held another public-private partnership unconstitutionally

impermissible. Here, the local prosecutor, concerned about crack babies, teamed up with the

local hospital to develop a program seeking to prevent expecting mothers from using

cocaine during the pregnancy. They developed a program where the hospital would test for

the presence of cocaine and provide a program to help with abstinence. If the patient

refused, the results were shared with the prosecutor’s office that in turn would encourage

participation at the threat of prosecution. The U.S. Supreme Court found the entanglement




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of public and private interests sufficient to conclude the blood test by the hospital was a

Fourth Amendment violation by the state. Id. at 86.

           106.   Similarly, the entanglement of public and private interests involved with Black

Hawk County and Scott County accepting and using CTCL’s private federal election grants

is constitutionally impermissible.

           107.   The idea of the federal and state government exclusively funding federal

elections is to eliminate undue influence and the appearance of undue influence by private

parties.

           108.   CTCL’s private funding of federal elections re-introduces undue influence and

the appearance of undue influence into federal elections—which is constitutionally

impermissible.

Help America Vote Act (HAVA)

           109.   The Help America Vote Act (HAVA), 52 USC § 209, preempts CTCL’s

private federal election grants for the following reasons.

           110.   HAVA established the Election Assistance Commission (EAC) to assist the

states regarding HAVA compliance and to distribute HAVA funds to the states.

           111.   EAC is also charged with creating voting system guidelines and operating the

federal government's first voting system certification program.

           112.   EAC is also responsible for maintaining the National Voter Registration form,

conducting research, and administering a national clearinghouse on elections that includes

shared practices, information for voters and other resources to improve elections.




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       113.    HAVA requires that the states implement the following new programs and

procedures:

                  Provisional Voting
                  Voting Information
                  Updated and Upgraded Voting Equipment
                  Statewide Voter Registration Databases
                  Voter Identification Procedures
                  Administrative Complaint Procedures

In the past, Iowa’s HAVA plan, required by HAVA, was approved by the EAC.

       114.    HAVA’s purpose was to coordinate federal and state administration of federal

elections.

       115.    HAVA does not legally authorize local governments to accept private federal

election grants.

       116.    HAVA’s preemption prohibits local governments from accepting private

federal election grants.

       117.    Under HAVA, the EAC is to be bi-partisan and work with all the states in a

bi-partisan way.

       118.    The CTCL’s private federal election grants circumvent the EAC and the states

and thus conflict with HAVA.

       119.    Under HAVA, the EAC and the states work toward election plans and

budgets.

       120.    CTCL’s private federal election grants to local governments lead to deviations

from the federally-approved and state-approved election administration plans and budgets—

thus, conflicting with HAVA.



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           121.   The federal and state money distributed to county and city clerks that

administer elections are distributed pursuant to a legally-authorized method, that is approved

by the states under the guidance of EAC, so the counties and cities receive a state-approved

share for election purposes.

           122.   But, local governments accepting CTCL’s private federal election grants,

violate HAVA by injecting money into federal elections that is not approved by the EAC or

the states.

           123.   States are not allowed to deviate from plans submitted under HAVA. Local

governments accepting CTCL’s private federal election grants, violate HAVA.

           124.   The CTCL’s private federal election grants to local governments are not part

of HAVA.

           125.   Iowa and its Secretary of State, consistent with HAVA and under the EAC’s

guidance, has already approved a fiscal plan for its elections.

           126.   The CTCL’s private federal election grants to the Iowa’s counties and cities

circumvent and violate that fiscal plan.

           127.   In Iowa, it is too late for the state to modify its plan around CTCL’s private

federal election grants to ensure the legally-authorized, uniform and fair election HAVA

requires.

           128.   The Supremacy Clause, as applied to HAVA, ensures that Iowa counties and

cities do not act contrary to HAVA regarding federal elections.

           129.   HAVA preempts CTCL’s private federal election grants to the counties and

cities.



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       130.    Under the Supremacy Clause and HAVA, CTCL’s private federal election

grants are not legally authorized by federal law or state law.

       131.    Black Hawk County and Scott County have acted ultra vires, without legal

authority, in accepting and using CTCL’s private federal election grant and forming the

public-private partnership with CTCL for federal election administration.

National Voters Registration Act (NVRA)

       132.    National Voters Registration Act (NVRA), 52 U.S.C. §§ 20501–20511,

preempts CTCL’s private federal election grants for the following reasons.

       133.    Congress enacted the National Voter Registration Act of 1993 (also known as

the "Motor Voter Act"), to create “national procedures for voter registration for elections

for Federal office.” 52 U.S.C. § 20503.

       134.    The Act gave responsibility to the Federal Election Commission (FEC) to

provide States with guidance on the Act, to develop a national mail voter registration form,

and to compile reports on the effectiveness of the Act. A 2002 amendment in HAVA

transferred the FEC's responsibilities under the Act to the EAC.

       135.    Section 5 of the NVRA requires states to provide individuals with the

opportunity to register to vote at the same time that they apply for a driver's license or seek

to renew a driver's license, and requires the State to forward the completed application to the

appropriate state or local election official. 52 U.S.C. § 20504.

       136.    Section 6 of the NVRA provides that citizens can register to vote by mail

using mail-in-forms developed by each state and the Election Assistance Commission. 52

U.S.C. § 20505.


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       137.    Section 7 of the NVRA requires states to offer voter registration opportunities

at all offices that provide public assistance and all offices that provide state-funded programs

primarily engaged in providing services to persons with disabilities. Each applicant for any of

these services, renewal of services, or address changes must be provided with a voter

registration form of a declination form as well as assistance in completing the form and

forwarding the completed application to the appropriate state or local election official. 52

U.S.C. § 20506.

       138.    Section 8 of the NVRA also creates requirements for how States maintain

voter registration lists for federal elections. 52 U.S.C. § 20507.

       139.    NVRA’s purpose was to coordinate federal and state administration of voter

registration for federal elections and to create legally-authorized, nationwide, and uniform

standards for voter registration.

       140.    NVRA does not legally authorize local governments to accept private federal

election grants for voter registration.

       141.    NVRA’s preemption prohibits local governments from accepting private

federal election grants for voter registration.

       142.    Under NVRA, the EAC is to be bi-partisan and work with all the states in a

bi-partisan way on voter registration for federal elections.

       143.    The CTCL’s private federal election grants to Defendants circumvent the

EAC and the states and thus conflicts with NVRA.

       144.    Under NVRA, the EAC and the states work toward voter registration plans

and budgets.



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       145.    CTCL’s private federal election grants to local governments lead to deviations

from the federally-approved and state-approved election voter registration administration

plans and budgets—thus, conflicting with NVRA.

       146.    The federal and state money distributed to county and city clerks that conduct

voter registration are distributed pursuant to a legally-authorized method, that is approved by

the states under the guidance of EAC, so the counties and cities receive a state-approved

share for voter registration.

       147.    But, local governments accepting CTCL’s private federal election grants,

violate NVRA by injecting money into federal election voter registration which is not

approved by the EAC or the states.

       148.    States are not allowed to deviate from the NVRA. Local governments

accepting CTCL’s private federal election grants, violate NVRA.

       149.    The CTCL’s private federal election grants to local governments are not part

of NVRA.

       150.    Iowa and its Secretary of State, consistent with NVRA and under the EAC’s

guidance, has already approved a fiscal plan for voter registration for federal elections. The

CTCL’s private federal election grants to Black Hawk County and Scott County circumvent

and violate that fiscal plan.

       151.    In Iowa, it is too late for the state to modify its plan in response to CTCL’s

private federal election grants to ensure the legally-authorized, uniform and fair election

NVRA requires.




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          152.   The Supremacy Clause, as applied to NVRA, ensures that Iowa’s counties and

cities do not act contrary to NVRA regarding federal elections.

          153.   NVRA preempts CTCL’s private federal election grants to Black Hawk

County and Scott County.

          154.   Under the Supremacy Clause and NVRA, CTCL’s private federal election

grants are not legally authorized by federal law or state law.

          155.   Black Hawk County and Scott County have acted ultra vires, without legal

authority, in accepting and using CTCL’s private federal election grants.

                                          Prayer for Relief

          Therefore, the Plaintiffs respectfully ask that this Court to:

          1.     Grant declaratory relief that Black Hawk County and Scott County have acted

ultra vires, acted without legal authority, in accepting CTCL’s private federal election grants.

          2.     Issue an injunction enjoining the Black Hawk County and Scott County on

accepting or using CTCL’s private federal election grants and similar private federal election

grants.

          3.     Award the Plaintiffs all costs, expenses, and expert witness fees allowed by

law;

          4.     Award the Plaintiffs attorneys’ fees and costs allowed by law; and

          5.     Award the Plaintiffs such other and further relief as this Court deems just.




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Dated: October 1, 2020                        /s/ Vincent Fahnlander
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